Case 2:04-cv-02293-BBD-dkv Document 23 Filed 06/03/05 Page 1 of 3 Page|D 19

3
IN THE UNHED sTATEs D1STR1CT COURT ;:11 1511 1311 otis D~C-
FOR THE WESTERN D1sTR1CT oF TENNESSEE

Commissioner of the Sooial
Security Adrninistration,

WEsTERN DIVISION 95_1\111-3 PH\Z= 113
-'~-'* t ' THGUO
NOAH WILKINS, 111 ) %?§§§1 11.&.1&\§?_ CT_
) WD‘_ @‘1: 111 1111-11111"»14:3
Plainriff, ) '
) ,
v. ) Civii Action NO. 04-22931"§))/
)
10 ANNE BARNHART, )
)
)
)
)

Defendant.

CONSENT ORDER GRANTING ATTORNEY FEES
UNDER THE EOUAL ACCESS TO JUS'I`ICE ACT

P]aintiff‘s attorney has requested an award of attorney fees under the Equal Acoess to Justice
Act (EAJA), 28 U.S.C. § 2412 in the amount of $4,937.50, Which represents 39.50 hours at a rate
of$ 125 per hour. After discussions, P]aintiff and Defendant have agreed that $4,400 is a reasonable
fee in this case.

WHEREFORE, by consent the parties request the Court enter its Order awarding EAJA fees
to Plaintiff in the total amount of $4,400.

IT lS SO ORDERED.

This § rpr day 0%|@¢44., ,2005.

 

B. Donald
ited States District Judge

Th':s document entered on the docketzphe?pln co(rjnpliance
with Ruie 58 and/or 79{a) FRCP on §2'

 

Case 2:O4-cv-O2293-BBD-dkv Document 23 Filed 06/03/05 Page 2 of 3 Page|D 20

CONSENTED TO AND APPROVED:

ain;;t. W
Lester T. Wener, BUE,n 371-13
Attorney for Plaintiff
100 N Main Building, Suite ]2334
Meniphis, Tennessee 38103

TERELL L. HARRIS
United States Attorney

By; Q»LMC,\_B\/\ML

Joe{A) Dycus,

Assistant United States Attorney
167 N Main street 8‘*‘ Floor
Memphis, Tennessee 3 8103

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 23 in
case 2:04-CV-02293 Was distributed by faX, mail, or direct printing on
.1 une 6, 2005 to the parties listed.

 

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Lester T. Wener
MCWHORTER & WENER
100 N. Main Street

Ste. 1234

1\/1emphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

